                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

BELMONT UNIVERSITY,                                )
                                                   )
          Plaintiff,                               )
                                                   )       Case No. 3:11-cv-0861
v.                                                 )
                                                   )       Judge Trauger
PENNSYLVANIA MANUFACTURERS’                        )
INDEMNITY COMPANY D/B/A                            )       Magistrate Judge Brown
PMA INSURANCE GROUP,                               )
                                                   )
          Defendant.                               )

                             JOINT STIPULATION OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties stipulate that they have reached a

resolution and entered into a settlement agreement and that this case should be dismissed with

prejudice with each party bearing its own attorneys’ fees and costs.

                                                       Respectfully submitted,

                                                       /s/ John L. Farringer
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                                                       /s/ John S. Little w/p JLF
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                                                       Group



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                               CERTIFICATE OF SERVICE

        Service of the foregoing was accomplished through the Court’s Electronic Filing System
on this 27th day of June, 2012, upon the following:

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                                                  /s/ John L. Farringer




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